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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 20-cv-02389-DDD-NRN

   ESTATE OF ELIJAH JAVON MCCLAIN, by and through its personal representatives
   Sheneen McClain and Lawayne Mosley;
   SHENEEN MCCLAIN, individually;
   LAWAYNE MOSLEY, individually,

   Plaintiffs,

   v.

   CITY OF AURORA, COLORADO, a municipality;
   OFFICER NATHAN WOODYARD, in his individual and official capacity;
   OFFICER RANDY ROEDEMA, in his individual and official capacity;
   OFFICER JASON ROSENBLATT, in his individual and official capacity;
   OFFICER MATTHEW GREEN, in his individual and official capacity;
   SERGEANT DALE LEONARD, in his individual and official capacity;
   OFFICER ALICIA WARD, in her individual and official capacity;
   OFFICER KYLE DITTRICH, in his individual and official capacity;
   OFFICER ERICA MARRERO, in her individual and official capacity;
   OFFICER JAMES ROOT, in his individual and official capacity;
   OFFICER JORDAN MULLINS-ORCUTT, in his individual and official capacity;
   OFFICER DARREN DUNSON, in his individual and official capacity;
   OFFICER STEPHANIE NGHIEM, in her individual and official capacity;
   SERGEANT RACHEL NUNEZ, in her individual and official capacity;
   LIEUTENANT PETER CICHUNIEC, in his individual and official capacity;
   PARAMEDIC JEREMY COOPER, in his individual and official capacity;
   DR. ERIC HILL, in his individual capacity,

   Defendants.

                                     MINUTE ORDER

   Entered by Magistrate Judge N. Reid Neureiter

          It is hereby ORDERED that Plaintiff LaWayne Mosley’s Motion to Restrict (Dkt.
   #109) is GRANTED finding the subject motion meets the requirements as outlined in
   D.C.COLO.LCivR 7.2(c). The Clerk is directed to place Dkt. #108-1 under Level 1
   Restriction.

   Date: November 18, 2021
